                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             3:05-CR-00016-RJC
 USA                                        )
                                            )
    v.                                      )              ORDER
                                            )
 MICHAEL VASHAWN DRAYTON                    )
                                            )


         THIS MATTER is before the Court upon motion of the defendant for

compassionate release under 18 U.S.C. § 3582(c)(1)(A) and the First Step Act of

2018. (Doc. No. 55).

         Section 603(b) of the First Step Act amended § 3582(c)(1)(A), which

previously only allowed a court to reduce a term of imprisonment on motion of the

Director of the Bureau of Prisons (BOP). Now a court may entertain a motion filed

by a defendant: (1) after full exhaustion of all administrative rights to appeal a

failure of the BOP to bring a motion on the inmate’s behalf; or (2) after the lapse of

30 days from the receipt of such a request by the warden of the facility, whichever is

earlier. The defendant cannot obtain relief from this Court when he has not first

sought it through the warden at his facility. United States v. McCoy, 981 F.3d 271,

283 (4th Cir. 2020) (defendant required to exhaust remedies with warden before

filing motion with court). Therefore, the Court is without authority to consider the

merits of his claim. United States v. Raia, 954 F.3d 594, 595 (3d Cir. 2020).




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       IT IS, THEREFORE, ORDERED that the defendant’s motion for

compassionate release, (Doc. No. 55), is DENIED without prejudice.

       The Clerk is directed to certify copies of this Order to the defendant and the

United States Attorney.

 Signed: March 29, 2021




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